






Opinion issued August 1, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00471-CV

____________


ANNIE LOVINGS,  Appellant


V.


BRIAN WARFORD &amp; BOBBY JACKSON,  Appellees






On Appeal from the County Civil Court No. 4

Harris County, Texas

Trial Court Cause No. 748897






O P I N I O N

	The parties have filed a joint motion to dismiss this appeal.  More than 10 days
has elapsed, and no objection has been filed.  No opinion has issued. Accordingly,
motion is granted, and the appeal is dismissed without prejudice.  Tex. R. App. P.
42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Taft, and Jennings.

Do not publish. Tex. R. App. P. 47.


